                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-cv-02468-MSK

ROCKY MOUNTAIN WILD;
NATIONAL PARKS CONSERVATION ASSOCIATION;
CENTER FOR BIOLOGICAL DIVERSITY; and
WILDEARTH GUARDIANS,

       Plaintiffs,

v.

DAVID BERNHARDT, in his official capacity as Acting Secretary of the Interior; and
BUREAU OF LAND MANAGEMENT,

       Federal Defendants,

and

AMERICAN PETROLEUM INSTITUTE; and
INDEPENDENT PETROLEUM ASSOCIATION OF AMERICA,

Defendant-Intervenors.

                FEDERAL DEFENDANTS’ NOTICE OF APPEAL
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       Pursuant to Fed. R. App. P. 3 and 28 U.S.C. § 1291, Federal Defendants Debra Haaland,

in her official capacity as Secretary of the United States Department of the Interior,1 and Bureau

of Land Management (BLM), hereby appeal to the United States Court of Appeals for the Tenth

Circuit from this Court’s September 28, 2021 Order (ECF No. 67), entering into judgment the

Court’s September 28, 2021 Order (ECF No. 66) remanding BLM’s 2018 leasing decision.

       Respectfully submitted this 26th day of November, 2021.

                                             TODD KIM
                                             Assistant Attorney General

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      Pursuant to FED. R. CIV. P. 25(d), Debra Haaland is automatically substituted for David
Bernhardt as Secretary of the Interior.
                                           United States Department of Justice
                                           Environment and Natural Resources Division
                                           /s/ Joseph H. Kim
                                           JOSEPH H. KIM
                                           MICHELLE-ANN C. WILLIAMS
                                           Trial Attorneys
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                                           Counsel for Federal Defendants




                               CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2021, a copy of the foregoing notice was served by

electronic means on all counsel of record by the Court’s CM/ECF system.


                             /s/ Joseph H. Kim
                             JOSEPH H. KIM




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